              Case 6:18-bk-02188-KSJ            Doc 29   Filed 03/22/19    Page 1 of 3



                          UNITED STATES BANKRUPTCY COURT FOR
                             THE MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

IN RE:
                                                     CASE NO. 6:18-bk-02188-KSJ
BRUCE W. TILLEY                                      CHAPTER 7

         Debtor
                                            /

   SECURED CREDITOR’S RESPONSE TO TRUSTEE’S MOTION TO SELL REAL
   PROPERTY AND PAY SECURED CREDITORS AND TRANSACTIONAL COSTS
                             [D.E. #28]

         Secured Creditor, Deutsche Bank National Trust Company, as Trustee, in trust for the

registered holders of Morgan Stanley ABS Capital I Inc. Trust 2006-HE8, Mortgage Pass-

Through Certificates, Series 2006 HE8 (“Creditor”) hereby files its response to Trustee’s Motion

To Sell Property And Pay Secured Creditors And Transactional Costs [D.E. #28], and

respectfully states:

         1.       Trustee’s Motion relates to certain real property located in Okaloosa County,

Florida, having an address of 154 Fort Smith Boulevard, Deltona, Florida 32738, and legally

described as more particularly set forth in the Motion.

         2.       Creditor owns and/or holds the first mortgage on said Property, in the original

principal amount of $209,000.00. Select Portfolio Servicing, Inc. services the underlying

mortgage loan on behalf of Creditor.

         3.       The loan is contractually due for August 1, 2015, with an unpaid principal balance

of $160,623.38.

         4.       Debtor has surrendered the subject Property to the Creditor pursuant to the

Statement of Intentions [D.E. #1].




12075.578
            Case 6:18-bk-02188-KSJ          Doc 29      Filed 03/22/19     Page 2 of 3



       5.      Any sale of the subject Property must be subject to Creditor’s lien and fully

conditioned upon Creditor’s approval of all terms and conditions of the sale, including (but not

limited to) timelines, sales price and all monetary figures.

       WHEREFORE, Creditor prays that this Court enter an Order:

       1.      Denying the Motion to Sell; or

       2.      (In the alternative), Ordering that any sale of the Property must be subject to, and

fully conditioned upon Creditor’s approval of such terms and conditions of the sale as Creditor

may deem acceptable, in Creditor’s sole and absolute discretion; and

       3.      Awarding such other relief as the Court deems proper.

       Dated: March 22, 2019

                                              Heller & Zion, L.L.P.
                                              Attorneys for Secured Creditor
                                              1428 Brickell Avenue, Suite 600
                                              Miami, FL 33131
                                              Telephone: (305) 373-8001
                                              Facsimile: (305) 373-8030


                                              By:      /s/ Fran E. Zion, Esquire
                                                       Fran E. Zion, Esquire
                                                       Florida Bar No. 749273




                                                 -2-
12075.512
             Case 6:18-bk-02188-KSJ       Doc 29    Filed 03/22/19     Page 3 of 3



                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Response was served

by CM/ECF system for all CM/ECF participants or first class U.S. Mail on the following persons

or entities at the addresses listed:

Bruce W Tilley
154 Fortsmith Blvd.
Deltona, FL 32738

Michael P Kelton, Esq.
Paul & Elkind, PA
142 East New York Avenue
DeLand, FL 32724
Email: mkelton@paulandelkind.com

Trustee
Arvind Mahendru
5703 Red Bug Lake Road
Suite 284
Winter Springs, FL 32708

U.S. Trustee
United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801

Dated: March 22, 2019
                                           Heller & Zion, L.L.P.
                                           Attorneys for Secured Creditor
                                           1428 Brickell Avenue, Suite 600
                                           Miami, FL 33131
                                           Telephone: (305) 373-8001
                                           Facsimile: (305) 373-8030

                                           By:     /s/ Fran E. Zion, Esquire
                                                   Fran E. Zion, Esquire
                                                   Florida Bar No. 749273




                                             -3-
12075.512
